539 U.S. 938
    McConnell, United States Senator, et al.v.Federal Election Commission et al.
    No. 02-1674.
    Supreme Court of United States.
    June 19, 2003.
    
      1
      Appeal from the D. C. D. C. [Probable jurisdiction noted, ante, p. 911.]
    
    
      2
      Briefs of the parties who were plaintiffs in the District Court are not to exceed 50 pages for the opening briefs and 20 pages for the reply briefs, except that the plaintiffs in No. 02-1674 may file an opening brief not to exceed 75 pages, and the political party plaintiffs in Nos. 02-1727, 02-1733, 02-1753 may file a consolidated opening brief not to exceed 100 pages. The Solicitor General may file a brief not to exceed 140 pages, and the intervenor-defendants may file a brief not to exceed 75 pages.
    
    